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                                                DEPARTMENT OF THE TREASURY
                                                              WASHINGTON , CI.C ,

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                                                                 April 10, 2019


              The Honorable Richard E. Neal
              Chainnan
              Committee on Ways and Means
              U.S. House ofRepresen1atives
              Washington, DC 20515

              Dear Chairman Neal:

                     I write in response to the Committee,s Apr.il 3 letter to the Commissioner of Internal
              Revenue requesting private tax return infonnation under 26 U.S.C. § 6103{f). The Committee
              requests the materials by April 10, but the Treasury Department will not be able to complete its
              review of your request by that date. 1

                      We begin with an awareness of Congressional concerns already raised regarding this
              inquiry. In the last Congress, the Conunittee on Ways and Means issued a formal report
              concerning a House resolution of inquiry seek· ng information substantially similar to the
              infonnation you request. The Committee detennined that such a request would be an "abuse of
              authoritf' and ~'set a dangerous precedent by targeting a single individual's confidential tax
              returns and associated financial documents for·disclosure" for political. reasons. 2 The Committee
              recognized that section 6103(f) may not be used '~for purposes of embarrassing or attacking
              political figures of another party ..,3 Noting a similar concern in a recent floor speech, the
              Chairman of the Senate Finance Conunittee--who shares the same section 6103(f) authority as
              you-described the April 3 request as lacking the requisite ''legitimate legislative purpose ' and
              as "Nixonian to the core.'...i

                      You too have acknowledged the unprecedented nature of this re-quest. As you stated ·n
              October 2018 with respect to this long-planned inquiry, ~lt]his has never happened before, so
              you want to be very meticulous.,'5 We share that caution, and we agree that this is not a routine
              section 6103(f) request. The Committee's request raises serious issues c-0nceming the

              1 Although the letter attempts to, instruct the Commissioner to strictly limit access to the letter to "IRS personnel"

              only, the Committee prompdy released the letteroo Tw~tter and its website.
              2 H. Comm. on. Ways & Means, H. Rept No. 115-309, at 2, 3 (20 l7),

              https:/fwww.congress.gov/ 115/crpt/hrpt309/CRPT- 1.1Shrpt309.pelf.
              ) Id at 3.
              4 165 Cong. Rec. S21S8-02 (Apr. 4, .2019)(statement ofSeo. Charles Grass]ey).
              $ R. Rubin, Wall Street Journal (Oct. 3, 20 I 8)(qnoting then-Ranking Member Neal),

              :https:flwww.wsj.com/articles/trumps-tax-retums-in-the-spotl ight-if:.democrats.capture-the-house-1 53 85 75880.
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constitutional scope of Congressional investigative authority, the legitimacy of the asserted
legislative purpose, and the constitutional rights of American citizens. The legal implications of
this request could affect protections for all Americans against politically-motiva,ted disclosures
of personal tax infonnationt regardless of which party is in power. Given the seriousness of
these issues, which bear no connection to ordinary tax. administration, we have begun
consultations with the Department of Justice to ensure that our response is fuJly ,consistent with
the law and the Constitution. For the same reasons~ I intend to supervise the Department's
review of the Committee;s request to ensure that taxpayer protections and applicable laws are
scrupulously obsetved, consistent with my statutory responsibilities.6

         The Department respects Congressional oversight, and we intend to review your request
carefully..

                                              Sincerely,



                                              Steven T. Mnuchin

cc:      The Honorable Kevin Brady, Ranking Member, Committe-e on Ways and Means




6 Se(! 26 U.S.C. § 6103(f) (entrusting responsibility to "the Secretary"); see also 26 U.S.C. § 780 I(a){l) (''Except as
otherwise expressly provided by law. the administration and enforcement of this title, shall be ~rfonned by or and.er
the supervision of the Secretary of the Treasury."); 31 •· .S.C. § 321 (c) ("Duties and powers of officers and
employees of the Department are vested in the Secretary... .'').
